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         The Jerome N. Frank Legal Services Organization
                                             YALE LAW SCHOOL


                                                                                           August 3, 2018

    VIA ECF

    The Honorable Steven C. Mannion
    United States Magistrate Judge
    MLK Building Room 2B
    50 Walnut Street
    Newark, NJ 07101

            Re:     Suny Rodriguez Alvarado & A.S.R. v. United States of America
                    2:16-cv-05028 (MCA) (SCM)

    Dear Judge Mannion:

           The undersigned counsel are pleased to write jointly to inform the Court that the parties
    have reached an agreement in principle to settle all claims alleged in Plaintiffs’ Complaint. See
    ECF No. 1. The parties anticipate finalizing the settlement in the coming days and will then seek
    the Court’s approval through a “friendly” hearing, given Plaintiff A.S.R’s status as a minor.

            Accordingly, the parties respectfully request that the Court adjourn, sine die, the telephonic
    status conference currently scheduled for August 24, 2018. See ECF No. 65. In addition, the
    parties request that the Court hold in abeyance the Consent Motion to Permit Appearances of
    Supervised Law Students, ECF No. 69, and the parties’ joint discovery dispute letter, ECF No. 70,
    pending the finalizing of the settlement.

           Please do not hesitate to contact any of us should Your Honor have any questions or
    concerns. Thank you for your kind consideration throughout the course of this matter.

    Respectfully submitted,

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